       Case 1:20-cv-04507-AT-GWG Document 5 Filed 07/23/20 Page 1 of 3


                                                        JUL 2 2 2020
17 July, 2020
                                                Ui~tc:D srt-:r::s DSTRICT JUDGE
Honorable Louis L. Stanton District Judge
500 Pearl St# 2250,
New York, NY 10007

Courtroom: 21C


My name is Mahfooz Ahmad and I am the prose petitioner in,

Case Name:       Ah m ad v. Day et al


Case Number: 1:20-cv-04507-LLS


This case was recently assigned to you. I am writing this letter to you because I need to add more

parties and claims to this lawsuit through a joinder. The new parties and the original defend ant

created a fraudulent job scam to cover up wrong doings and to retaliate against my previously

filed EEOC discrimination complaint. In this well-planned job scam defendant (Colin Day and

iCIMS Inc) with collaboration of the below listed parties created fraudulent job scheme to gain

my signatures on a deceitfully written job agreement. The job scam lasted from 15 t h July 2019 to

31 st December 2019.


New Parties to add in the lawsuit are,

Beacon Hill Staffing Group LLC
152 Bowdoin St, Boston, MA 02108

Andrew Wang
CEO Beacon Hill Staffing Group LLC
152 Bowdoin St, Boston, MA 02108

Joe Cox
Director Beacon Hill Staffing Group LLC
152 Bowdoin St, Boston, MA 02108

Jamie Baumann
        Case 1:20-cv-04507-AT-GWG Document 5 Filed 07/23/20 Page 2 of 3




Staffing Consultant Beacon Hill Staffing Group LLC
152 Bowdoin St, Boston, MA 02108

Nellie Smith
Manager Beacon Hill Staffing Group LLC
152 Bowdoin St, Boston, MA 02108

Jennifer Ryan
Director Beacon Hill Staffing Group LLC
152 _
    Bowdoin St, Boston, MA 02108

NaviHealth Inc
210 Westwood, Brentwood, TN 37027

Clay Richards
CEO NaviHealth Inc
210 Westwood, Brentwood, TN 37027

Bernard Carroll
Manager NaviHealth
210 Westwood, Brentwood, TN 37027

Nick Cortesi
Director NaviHealth Inc
210 Westwood, Brentwood, TN 37027

Daniel George
Contractor NaviHealth Inc
210 Westwood, Brentwood, TN 37027



Honorable Judge Louis L. Stanton, I have spoken to several lawyers and actively seeking a lawyer

to represent me in this case. I am also searching for a pro bona lawyer to represent me in this

case.




Sincerely,
Mahfooz Ahmad



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                     Case 1:20-cv-04507-AT-GWG Document 5 Filed 07/23/20 Page 3 of 3
MAHFOOZ AHMAD

198 EAST AVE # 2 NORWALK,
CONNECTICUT 06855
T: +1.718.536.1972


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